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Carol E. Heckman
Kenneth W. Africano
HARTER SECREST & EMERY LLP
Twelve Fountain Plaza, Suite 400
Buffalo, New York 14202
Telephone No. (716) 844-3720
Facsimile No. (716) 853-1617
CHeckman@hselaw.com
KAfricanohselaw.com

Brian M. Feldman
HARTER SECREST & EMERY LLP
1600 Bausch & Lomb Place
Rochester, New York 14604
Telephone No. (585) 231-1201
Facsimile No. (585) 232-2152
BFeldman@hselaw.com

Attorneys for Plaint iffRelator Mary Bixler Wood


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
UNITED STATES OF AMERICA, CALIFORNIA,
COLORADO, CONNECTICUT, DELAWARE,
FLORIDA, GEORGIA, HAWAII, ILLINOIS,
INDIANA, IOWA, LOUISIANA, MARYLAND,
MASSACHUSETTS, MICHIGAN, MINNESOTA,
MONTANA, NEVADA, NEW HAMPSHIRE, NEW
JERSEY, NEW MEXICO, NEW YORK, NORTH
                                                        COMPLAINT
CAROLINA, OKLAHOMA, RHODE ISLAND,
TENNESSEE, TEXAS, UTAH, VIRGINIA,
                                                        UNDER SEAL
WASHINGTON, WISCONSIN, AND THE
DISTRICT OF COLUMBIA EX REL. MARY BIXLER
                                                        14 Civ.
WOOD,
                                           Plaint /Th   ECF   CAsE

                         V.

AVALIGN TECHNOLOGIES, INC., INSTRUMED                   JURY TRIAL DENIANDED
INTERNATIONAL, INC., INSTRUMED GMBH,
NEMCOMED FW, LLC, NGINSTRUMENTS, INC.,
ADVANTIS MEDICAL, INC., ROUNDTABLE
HEALTHCARE PARTNERS, L.P., CAREFUSION
CORPORATION. AND DEPUY SYNTHES, INC.,
                                         Defendants.
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        Plaintiff-relator Nary Bixier Wood (“Relator”), through her attorneys, Harter Secrest &

 Emery LLP, alleges upon information and belief as follows:

                                             INTRODUCTION

        1.      This is a suit to recover damages and penalties on behalf of the United States of

America and certain States under the federal and various state False Claims Act statutes. The

defendants marketed medical devices within the United States in violation of federal laws

designed to assure the devices’ safety and efficacy. The federal and state governments spent

billions of taxpayer dollars purchasing these devices, reimbursing purchases of these devices,

and reimbursing procedures using these devices. This suit seeks to hold defendants responsible

for wrongfully causing this tremendous expenditure of public funds, while risking public health.

        2.      Relator brings this action on behalf of the United States of America (the “United

States”) and the States of California, Colorado, Connecticut, Delaware, Florida, Georgia, Hawaii,

Illinois, Indiana, Iowa, Louisiana, Maryland,   ‘   ichigan, Minnesota, Montana, Nevada, New

Hampshire, New Jersey, New Mexico, New York, North Carolina, Oklahoma, Rhode Island,

Tennessee, Texas, Utah, Washington, and Wisconsin, the Commonwealths of Massachusetts and

Virginia, and the District of Columbia (collectively, the “State Plaintiffs,” and, together with the

United States, the “Government”), against Defendants Avalign Technologies, Inc. (“Avalign”),

Instrumed International, Inc. and Instrumed GmbH (together, “Instrumed”), Nemcomed FW,

LLC (“Nemcomed”), NGlnstruments, Inc. (“NGI”), Advantis Medical, Inc. (“Advantis”),

RoundTable Healthcare Partners, L.P. (RoundTable”), CareFusion Corporation (“CareFusion”),

and DePuy Synthes, Inc. (“DePuy”) (collectively, “Defendants”).




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        3.       Defendants elevated profits over safety and ignored laws designed to protect the

public from dangerous or unreliable medical devices. As a result, over the last decade, millions

of illegal medical devices were sold in the United States, and a large number of those devices,

along with millions of procedures using those devices, were paid for by federal healthcare

programs, like Medicare. TRICARE. and CHAMPVA, as well as the Medicaid program jointly

administered by the federal government and the States. Federal and state entities also, upon

information and belief directly purchased these illegal devices. The Government thus

unwittingly bankrolled risky surgeries and other procedures in violation of the Government’s

own payment terms.

        4.      As set forth below, Defendants committed egregious and deliberate violations of

the Federal Food, Drug and Cosmetic Act (“FDCA”) and implementing regulations of the United

States Food and Drug Administration C’FDA”) (collectively “FDA law”). The public safety laws

Defendants violated include critical laws requiring manufacturers to obtain marketing clearance

from FDA before commercially distributing devices and mandating that manufacturers comply

with current good manufacturing practices (“cGMP”) for medical devices, among other laws.

By violating these laws, Defendants caused the introduction of illegal adulterated and/or

misbranded devices into the United States, creating massive potential public health risk. These

violations of FDA law triggered violations of the reimbursement rules of Government healthcare

programs and the conditions of Government purchasers.

       5.       Relator brings this action seeking damages and penalties on behalf of the

Government under the False Claims Act, 31 U.S.C.     § 3729-3733, and analogous state statutes.




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                                   JURISDICTION AND VENUE

        6.       This Court has jurisdiction pursuant to 31 U.S.C.    § 3730 and 28 U.S.C. § 1331
 and 1345.

        7.       Venue is proper in the Southern District of New York pursuant to 31 U.S.C.

 § 3 732(a) because, upon information and belief, various Defendants transact business in this
District. Furthermore, upon information and belief, a number of acts proscribed by 31 U.S.C.

 § 3729 occurred in this judicial district. Upon information and belief, Defendants are likewise
subject to personal jurisdiction in this judicial district.

                                               PARTIES

        8.       Plaintiffs are the United States and the State Plaintiffs.

        9.       Relator Mary Bixier Wood served as the Vice President of Quality and

Regulatory Affairs for Avalign from February 2010 until Avalign terminated her in July 2013.

Prior to working at Avalign, Relator had worked for Advantis, an Avalign subsidiary, from

January 2009 through January 2010 as the Director of Quality and Regulatory Affairs.

        10.      Defendant Avalign Technologies, Inc. is a Delaware corporation with its principal

place of business in Lake Forest, Illinois. It markets itself as “the premier, full-service supplier

of implants, instruments, cutting tools, German Specialty instruments and cases and trays for

medical device OEMs.” It is a wholly owned subsidiary of Roundlable Healthcare Partners,

L.P., and is the sole owner of defendants Instrumed International, Inc., Nemcomed FW, LLC,

NGlnstruments, Inc., and Advantis Medical, Inc.

       11.       Defendant Instrumed International, Inc. is a Delaware corporation with its

principal place of business in Schaumburg, Illinois, and a manufacturing site in Tuttlingen,

Germany. It markets itself as a manufacturer of “the highest quality, broadest line of German,



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 hand-held, reusable surgical instruments available,” with “an inventory of over 18,000 unique,

 off-the-shelf product codes.”

         12.     Defendant Instrumed GmbH is a German limited liability company with its

principal place of business in Tuttlingen, Germany, It is a wholly owned subsidiary of Instrumed

International, Inc. Instrumed International, Inc. markets Instrumed GmbH as the “European

Manufacturing & Logistics Center” of Instrumed International, Inc.

        13.      Defendant Nemcomed FW, LLC is an Indiana limited liability company with its

principal place of business in Fort Wayne, Indiana. It markets its business as “the development

and manufacturing of precision medical instruments and implants.”

        14.      Defendant NGlnstruments, Inc. is an Indiana corporation with its principal place

of business in Warsaw, Indiana. It markets itself as “a leading manufacturer of high quality drills

and precision instruments in the medical device marketplace,” manufacturing “over 1,400

different styles of drill bits, taps and reamers.”

        15.      Defendant Advantis Medical, Inc. is an Indiana corporation with its principal

place of business in Greenwood, Indiana. It markets itself as a “design[er] and manufacture[r]

[of] world-class metal and thermoformed case and tray products for the medical device

community.”

        16.      Defendant RoundTable Healthcare Partners, L.P. is a Delaware limited

partnership with its principal place of business in Lake Forest, Illinois. RoundTable markets

itself as a “private equity firm focused exclusively on the healthcare industry” with “1.9 billion

of capital under management.” RoundTable promotes itself as “actively assist[ing] our partners

in developing and improving efficient operating practices in areas such as sales and marketing,

manufacturing [and] quality.”



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        17.      Defendant CareFusion Corporation is a Delaware corporation with its principal

place of business in San Diego, California. CareFusion markets itself as a “global corporation

 serving the healthcare industry with products and services that help hospitals measurably

improve the safety and quality of care.”

        18.      Defendant DePuy Synthes, Inc., is a Delaware corporation with its principal place

of business in Warsaw, Indiana. DePuy markets itself as a global leader “in providing healthcare

solutions in orthopaedics. spinal care, sports medicine and neurosciences.”

                                             BACKGROUND

I.      FDA RULES GOVERNING MEDICAL DEVICES

        19.      The Federal Food, Drug and Cosmetic Act (“FDCA”), 21 U.S.C.                §   301 etseq.,
governs, among other things, the manufacturing and marketing of medical devices within the

United States, requiring that medical devices possess a reasonable assurance of safety and

effectiveness for their intended uses. The FDA regulates medical devices under the FDCA to

protect consumers from medical devices that are unsafe or ineffective.

       20.       To protect public health, the FDCA prohibits, among other things, the marketing

of many medical devices without the requisite FDA marketing clearance; see 21 U.S.C.
                                                                                                     §   331(p),
and the adulteration or misbranding of medical devices in interstate commerce, 21 U.S.C.
                                                                                                         §
33 1(b). The FDCA also prohibits the introduction or delivery for introduction into interstate

commerce of any adulterated or misbranded medical device, 21 U.S.C.          §   33 1(a), the receipt in

interstate commerce of any adulterated or misbranded medical device, and the delivery or

proffered delivery thereof for pay or otherwise, 21 U.S.C.   §   33 1(c), as well as the failure to

comply with certain post-marketing reporting obligations, see 21 U.S.C.          §   33 1(q).




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        A.       FDA Clearance of Medical Devices Under Section 5 10(k)

        21.      Federal law grants FDA the power and responsibility to monitor medical devices

intended to be marketed within the United States to ensure that the devices are reasonably safe

and effective.

        22.      Among other things, federal law requires medical device manufactures to obtain

FDA marketing clearance before certain medical devices may be commercially distributed

within the United States. The purpose of this clearance process is to provide reasonable

assurances of the safety and efficacy of medical devices.

        23.      Federal law classifies medical devices into three classes of increasing regulatory

scrutiny based on the nature of the devices: Classes I, II, and III. In general, medical device

manufacturers must obtain FDA marketing clearance before commercially distributing most

Class II devices, as well as some Class I and Class III devices, within the United States. The

marketing clearance process is generally referred to as the 5 10(k) clearance process, because the

process is dictated by Section 5 10(k) of the FDCA.

        24.      Federal law requires 5 10(k) clearance in a number of circumstances. In

particular, a manufacturer must seek 510(k) clearance from FDA before introducing a relevant

device into interstate commerce for the first time; before marketing a change or modification to

an already cleared device that “could significantly affect safety or effectiveness;” or before

marketing a major change or modification to the intended use of a previously 510(k)-cleared

device. See 21 C.F.R.    §   807.8 1(a); see also, 21 U.S.C.   § 360(k).
       25.       A device that requires 5 10(k) clearance may not be legally marketed in the United

States until the applicant receives a clearance order from FDA.




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            26.       By ignoring the 5 10(k) clearance requirement, a manufacturer deprives FDA of

 the ability to assess whether a device has a reasonable assurance of safety and efficacy.

            27.       Any device requiring, but lacking, 510(k) clearance is both adulterated and

 misbranded, and marketing such a device is also a prohibited act under federal law. See 21

 U.S.C.     §     331(p), 351(f), 352(o).

            B.        FDA’s Quality System Regulations Ensure Compliance with Current Good
                      Manufacturing Practices

            28.       Federal law requires medical device manufacturers to design. produce. package,

label, evaluate, and monitor devices in accordance with current good manufacturing practices

(“cGMW’) to ensure that the medical devices are reasonably safe and effective.

            29.       These cGMP requirements for devices marketed in the United States are codified

in FDA’s Quality System Regulation (“QSR”). See 21 C.F.R. Part 820.

          30.         The QSR generally governs any entity that designs, manufactures, fabricates,

assembles, or processes a finished device (i.e., a device that is capable of functioning, whether or

not it has been packaged, labeled, or sterilized), as well as any entity that performs the functions

of contract sterilization, installation, relabeling, remanufacturing, repacking, or specification

development, and initial distributors of foreign entities performing these functions. 21 U.S.C.

§   820.3(o).

          3 1.       QSR requirements include rules, among others, governing design controls,

purchasing controls, production and process controls, process validation, document controls,

acceptance activity controls, nonconforming product controls, device master records, complaint

handling procedures, processes for corrective and preventive actions (“CAPA”), the

establishment of quality plans, procedures for and the conduct of quality audits, and document

controls.


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        32.        A medical device that is not manufactured in conformance with the applicable

QSR provisions cannot be legally marketed in the United States.

        33.        By ignoring applicable QSR requirements, a manufacturer produces medical

devices lacking a reasonable assurance of safety and efficacy.

        34.        Any device manufactured in violation of the applicable QSR requirements is

adulterated under the FDCA. See 21 U.S.C.         § 35 1(h).
        C.       Medical Device Reporting (MDR)

        35.      Federal law requires medical device manufacturers, importers, and others to

report certain device-related death. serious injury, and/or malfunction events to FDA so that

FDA and the public may monitor whether the medical devices present undue safety risks.

        36.      In particular, manufacturers and importers of medical devices and others are

required to comply with FDA’s medical device reporting regulation. See generally 21 C.F.R.

Part 803.

        37.      In general, manufacturers must report to FDA, within thirty days, any information

that “reasonably suggests that a device may have caused or contributed to a death or serious

injury” or “reasonably suggests a device has malfunctioned and that this device or a similar

device [that the manufacturer markets] would be likely to cause or contribute to a death or

serious injury if the malfunction were to recur.” 21 C.F.R.      § 803.20(b)(3).
       38.       Manufacturers, importers, and others must establish and maintain MDR event

files. 21 C.F.R.    § 803.18(b)(l). MDR   event   files are written or electronic files containing or

referencing the location of information related to any adverse event, including all documentation

of deliberations and decision-making processes used to determine if a device-related death,

serious injury, or malfunction was or was not reportable. 21 C.F.R.       § 803.18(b)(1)(i). MDR


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 event files must include copies of MDR forms as required and other information related to the

 event. 21 C.F.R.   § 803.18(b)(1)(ii).
        39.      To facilitate the above requirements, manufacturers, importers, and others must

develop, maintain and implement      Titten   MDR procedures that provide for timely and efficient

identification, communication and evaluation of events, a standardized review process, timely

transmission of complete medical device reports, and documentation and recordkeeping

requirements. 21 C.F.R.    § 803.18(a) and (b).
        40.      By ignoring the MDR requirements, a manufacturer or importer may hide medical

device safety risks from FDA and the public.

        41.      Failure to report MDRs for a device renders the device misbranded and is also a

prohibited act under the FDCA. 21 U.S.C.       § 331(q). 352(t).
        D.       Medical Device Labeling

        42.      Federal law governs the content, format, truthfulness, and completeness of

medical device labeling to ensure that medical device users are not deceived and to protect the

public from unsafe or ineffective device use and against safety and efficacy problems arising

from, among other things, the inadvertent misuse or overuse of such devices.

       43.      Any medical device offered for commercialization in the United States must

comply with applicable device format, content, and related labeling requirements. See generally

21 C.F.R. Part 801.

       44.      Federal law also prohibits medical device labeling from being false or misleading

inanyparticular. 21 U.S.C.    § 352(a);seegeneraliy2l C.F.R.,Part8Ol.
       45.      In addition, medical devices must include sufficient information for use, including

adequate instructions regarding how to use devices (e.g.. information explaining how to clean or



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 sterilize devices when relevant for initial use or reuse, and information about the shelf life or the

 reusable life of devices when relevant), as well as adequate warnings relevant to device use. 21

 U.S.C.    § 352(f).
          46.      By ignoring labeling requirements. a manufacturer may deceive or mislead users

 and may cause the unsafe or ineffective use. misuse, or overuse of a medical device, rendering

 the device neither reasonably safe nor effective.

          47.     A manufacturer’s violation of FDA labeling requirements renders a device

misbranded under the FDCA. See 21 U.S.C.         § 352; 21 C.F.R., Part 801.
IL        GOVERNMENT PAYMENT RULES

          48.     Compliance with the FDA laws set forth above is essential for any reasonable

assurance of the safety and efficacy of medical devices. In particular, the failure to obtain

required 510(k) marketing clearance from FDA for medical devices or other adulteration or

misbranding of medical devices leaves the public without reasonable assurances that such

devices are safe or effective.

          49.     None of the major federal healthcare programs (e.g., Medicare, Medicaid,

TRICARE, or CHAMPVA) provides for reimbursement for the purchase or use of medical

devices that lack required 510(k) clearance or are otherwise adulterated or misbranded.

          50.     In addition, the payment terms of federal and state funded health providers do not

permit their purchase of devices that lack required 510(k) clearance or are otherwise adulterated

or misbranded.

       A.        Medicare

       51.       Medicare is a federally administered health insurance program for persons over

65 and the disabled, codified as Title XVIII of the Social Security Act, 42 U.S.C.
                                                                                      § 1395 et seq.


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The Medicare program is funded by the federal government and administered by the Centers for

Medicare and Medicaid Services (‘CMS”) within the Department of Health and Human

Services.

        52.     Medicare rules govern the reimbursement for medical devices and reimbursement

for procedures using medical devices.

        53.     Medicare rules prohibit reimbursement for the use of a device that is adulterated

or misbranded. For instance, Medicare rules preclude payment for any device or procedure that

is not reasonable and necessary” for the treatment of illness or injury. See, e.g., 42 U.S.C.

§ 13 95y(a)( 1 )(A). The use of an adulterated or misbranded device is neither reasonable nor
necessary for the treatment of illness or injury because, among other reasons, there are not

reasonable assurances that such devices are safe or effective.

        54.     Medicare rules also prohibit reimbursement for the use of a device requiring, but

lacking, 5 10(k) clearance by FDA. For instance, Medicare classifies any medical device that is

neither cleared nor approved for marketing by FDA as “investigational.” See 42 C.F.R.

§ 411.15(o). Federal law prohibits Medicare reimbursements “for any expenses incurred for
items or services” relating to care and services using investigational devices, except for certain

clinical trials. See 42 U.S.C.   § 1395y(a)(1)(D); see also 42 C.F.R. § 411.15(o).
       55.     For these and other reasons, Medicare rules prohibit providers from seeking

reimbursement for the use of devices that lack required 510(k) clearance or are otherwise

adulterated or misbranded.




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        B.       Medicaid

         56.     Medicaid is a health insurance program for low income individuals jointly

administered by CMS and the States. Medicaid is codified at Title XIX of the Social Security

Act. 42 U.S.C.   § 1396 et seq., and in various provisions of state law.
        57.      The Medicaid program is jointly funded by the federal government and the States,

and the States are required to design State Plans to fund and administer their Medicaid programs.

See 42 U.S.C.    § 1396a.
        58.      Federal and state Medicaid rules and regulations provide that only reasonable and

necessary medical treatment is eligible for reimbursement.

        59.      In addition, certain state Medicaid regulations require compliance with federal

laws, which includes FDA law.

        60.      For these and other reasons, Federal and state Medicaid rules and regulations

prohibit providers from seeking reimbursement for the use of devices that lack required 510(k)

clearance or are otherwise adulterated or misbranded.

        C.       TRICARE

        61.      TRICARE, formerly known as CHAMPUS, is a healthcare program administered

by the United States Department of Defense that provides health insurance coverage to active-

duty and retired military personnel and their dependents. See 10 U.S.C.    § 1071, et seq.
        62.      TRICARE rules govern the reimbursement for medical devices and

reimbursement for procedures using medical devices.

        63.     TRICARE rules prohibit reimbursement for the use of a device that is adulterated

or misbranded. For instance, TRICARE rules preclude reimbursement for any device or

procedure that is not medically necessary for the treatment of illness or injury. See, e.g., 32



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 C.F.R.   §     199.4(a)(1)(i). The use of an adulterated or misbranded device is not medically

 necessary for the treatment of illness or injury because, among other reasons, there are not

reasonable assurances that such devices are safe or effective.

          64.           TRICARE rules also prohibit reimbursement for the use of a device requiring, but

lacking, 5 10(k) clearance by FDA. For instance, TRICARE classifies any medical devices that

are neither cleared nor approved for marketing by FDA as unproven and investigational. See 32

C.F.R,    §    199.4(g)(15); TRICARE Policy Manual (2008), Chap. 8,                  §   5.1. Except in certain

clinical trials, TRICARE rules prohibit payment for any ‘device, medical treatment or

procedure” relating to a device or the use of a device that is unproven, including “all services

directly related to the unproven             ...   device.” See 32 C.F.R.   §   199.4(g)(15); TRICARE Policy

Manual (2008), Chap. 8,          §   5.11.

          65.        For these and other reasons, TRICARE rules prohibit providers from seeking

reimbursement for the use of devices that lack required 510(k) clearance or are otherwise

adulterated or misbranded.

          D.        CHAMPVA

          66.       CHAMPVA is a healthcare program administered by the United States

Department of Veterans Affairs. The program benefits spouses and children of certain veterans.

See 38 U.S.C.       §   1781; 38 C.F.R.      §     17.270, etseq.

          67.       CHAMPVA rules govern the reimbursement for medical devices and

reimbursement for procedures using medical devices.

          68.       CHAMP VA rules prohibit reimbursement for the use of a device that is

adulterated or misbranded. For instance, CHAMPVA rules preclude payment for devices or

procedures that are not medically necessary. See 38 C.F.R.                  §   17.720(a). The use of an



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adulterated or misbranded device is not medically necessary for the treatment of illness or injury

because. among other reasons. there are not reasonable assurances that such devices are safe or

effective.

        69.      CHAMPVA rules also prohibit reimbursement for the use of a device requiring,

but lacking. 510(k) clearance by FDA. For instance. CHAMPVA limits reimbursement to the

use of medical devices that have been approved or cleared by FDA. See CHAMPVA Policy

Manual, Ch. 2,   §   17.8.

        70.      For these and other reasons, CHAMPVA rules prohibit providers from seeking

reimbursement for the use of devices that lack required 510(k) clearance or are otherwise

adulterated or misbranded.

        E.       Federal and State Purchasers of Medical Devices

       71.       On information and belief federal and state procurement policies and contracts

require that purchased devices comply with FDA law, including that such devices are cleared

when required under 510(k) and are not otherwise adulterated or misbranded.

       72.       For instance, the Veterans Administration (the ‘VA”) has express terms stating

that it will not purchase medical devices lacking the required 510(k) clearance or premarket

approval, and requiring that any device sold to the VA be fully compliant with FDA law,

including the QSR.

HI.    FDA VIOLATIONS BY THE AVALIGN COMPANIES

       A.       The Avalign Business Model

       73.      Avalign is a parent organization that operates through four subsidiary medical

device companies: Instrumed, Nemcomed, NGI, and Advantis (collectively, “the Avalign

Companies”).



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        74.     The Avalign Companies primarily manufacture (and at times private label)

 medical devices for other medical device companies.

        75.    For some medical device company customers, the Avalign Companies

manufacture finished devices according to design specifications developed by the Avalign

Companies. The Avalign Companies sometimes directly ship these products to purchasers on

behalf of the Avalign Companies’ medical device company customers. At other times, the

Avalign Companies ship these products to the medical device company customers, and those

customers distribute the products.

        76.    For other medical device company customers, the Avalign Companies contract-

manufacture finished devices according to specifications developed by the medica’ device

company customers.

        77.    The Avalign Companies have marketed themselves to medical device company

customers based on claims that the Avalign Companies could design, source, and/or manufacture

medical devices at lower costs and with greater speed than the medical device company

customers could do themselves.

       78.     As alleged below, the Avalign Companies have lowered the costs, and increased

the speed, of their design, sourcing, and manufacturing of medical devices for customers by

ignoring and violating FDA laws relating to the safety and efficacy of medical devices.

       79.     These shortcuts have created substantial public health risks.

       80.     As alleged below, the Avalign Companies manufactured and marketed devices

illegally without required 510(k) marketing clearance; in violation of QSR design control

requirements; in violation of QSR purchasing control requirements; in violation of QSR

production, processing, acceptance, release, device record-keeping and nonconforming product



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requirements; with false and inadequate labeling; in violation of QSR complaint handling and

CAPA requirements; without required reporting of MDRs about device-related injuries and

malfunctions; and otherwise in violation of QSR requirements.

        B.      Illegal Marketing of Products Without Required FDA 510(k) Clearance

        81.     Over the course of at least the last decade, the Avalign Companies have illegally

marketed and distributed medical devices into the United States, and caused their customers to

market and distribute many such devices, without the necessary FDA premarket notification

(5 10(k)) clearance.

        82.    There is an exception to the 5 10(k) premarket clearance requirement for so-called

‘preamendment devices.” A preamendment device is one that was sold in interstate commerce

and labeled, promoted, and distributed for a specific intended use, prior to May 28, 1976. FDA

requires proof of preamendment status. Such preamendment status may be established through

documentary evidence of commercial distribution prior to May 28, 1976 (ic., through copies of

advertisements, journal articles, shipping documents, etc.), by sworn statements of device users

with sworn statements of company employees, or by some combination thereof.

       83.     FDA law also requires additional 510(k) clearance before marketing any modified

510(k) cleared or preamendment device that, compared with the original 510(k) cleared or

preamendment device, has been significantly changed in a way that could significantly affect its

safety or efficacy or is being marketed for a new indication or use. See 21 C.F.R.   § 807.8 l(a)(3).
       84.     The Avalign Companies illegally marketed or caused others to market thousands

of different types of medical devices where the Avalign Companies knew or recklessly

disregarded the fact that the devices lacked required 510(k) clearance from FDA.




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                  1.     Instrumed’s Failure to Obtain 510(k) Clearance

           85.   Instrumed marketed medical devices for distribution into the United States, and

caused its customers to distribute such devices, without the required 510(k) clearance as set forth

below.

                         a.     Devices Lacking a Legal Basis for Marketing

           86.   Upon information and belief, Instrumed lacked a documented basis for the legal

marketing, under FDA law, of most of its devices. Internal company records, which were used

to document the FDA legal basis for distribution of Instrumed devices in the United States,

lacked even a purported basis for approximately two thirds of Instrumed’s approximately 30,000

finished devices and components.

                         b.     Devices Falsely Linked to 510(k) Clearances

         87.     Upon information and belief, Instrumed falsely claimed that a significant number

of devices were covered by 510(k) clearances that did not, in fact, support those devices. For

instance, upon information and belief, Instrumed internal company records falsely and

implausibly claimed that a total of twelve 5 10(k) clearances supported a total of more than 3,500

devices.

                        c.      Devices Based on False Preamendment Claims

         88.     Upon information and belief, Instrumed marketed numerous devices requiring

510(k) clearance based on the false premise that the devices qualified as preamendment.

         89.     Defendants knew, or recklessly disregarded the fact, that these devices were not

preamendment.

         90.     Around 2010, Instrumed began searching for the requisite evidence to establish its

devices were preamendment, such as documentary evidence. Instrumed was unable to locate any



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 such evidence. i’evertheless, Instrumed falsely claimed, and continues to claim. preamendment

 status for these sham preamendment devices.

                                Unapproved Devices Following Significant Changes

        91.     Upon information and belief, Instrumed marketed multiple devices that had been

 significantly changed, in design or in intended use, from 510(k)-cleared or preamendrnent

versions.

        92.     Each of these devices required additional 5 10(k) clearance based on substantial

changes in the design or intended use of the devices.

        93.     None of these devices had additional 5 10(k) clearance.

        94.     Instrumed, Avalign and RoundTable knew, or recklessly disregarded the fact that

these devices did not have additional 510(k) clearance as required.

        95.     As a result of these actions, Defendants marketed or caused others to market

numerous medical devices in the United States that had never been 510(k) cleared for marketing

by FDA as reasonably safe and effective, as required by federal law.

               2.      Advantis’s Failure to Obtain 510(k) Clearance

        96.    SteriPack is Advantis’s primary medical device product. It is a device used for

sterilizing other medical devices.

       97.     FDA provided Advantis or its predecessor with 510(k) clearance for a SteriPack

product made with stainless steel for use in sterilizing dental instruments.

       98.     However, Advantis redesigned additional line extensions of the SteriPack product

using aluminum and other materials and marketed devices for sterilizing orthopedic and other

non-dental devices.




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        99.        The change to include aluminum and other materials, and the change in use from

dental to non-dental, required 5 10(k) clearance.

        100.       Defendants Avalign and Advantis knew, or recklessly disregarded the fact, that

these devices required additional 5 10(k) clearance and that FDA had not cleared the devices. For

instance, for many years, Advantis marketed SteriPack devices without applying for additional

5 10(k) clearance. Around 2010. Advantis applied for 5 10(k) clearance from the FDA for the

significant changes in the device and its intended use. The FDA did not grant 5 10(k) clearance.

Nevertheless. Defendants Avalign and Advantis continued to market the revised devices.

        101.     As a result of these actions, Defendants marketed or caused others to market

SteriPack devices in the United States without 510(k) clearance for marketing from FDA as

reasonably safe and effective, as required by federal law.

        C.       Adulteration Through Lack of Required Design Controls

        102.     Over the course of at least the last decade, the Avalign Companies illegally

marketed medical devices for distribution into the United States, and caused their customers to

market such devices, without implementing design controls required by the QSR.

        103.     Design controls are the checks and balances incorporated into the device design

and development process. Design controls establish essential quality requirements, such as the

safety, performance, and dependability of a product. The controls apply to all Class II and III

devices, as well as some Class I devices. 21 C.F.R.    § 820.30(a)(1).
        104.    The Avalign Companies repeatedly failed to implement, and/or document, the

design controls meant to ensure the safety and effectiveness of their medical devices subject to

design controls.

       105.     Design control activities must be documented in design history files.



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         106.   Yet, the Avalign Companies did not maintain design history files for many

 devices subject to design controls.

         107.   Defendants knew, or recklessly disregarded the fact, that the Avalign Companies

 did not maintain design history files for many devices subject to design controls, as required by

federal law. Relator repeatedly informed the Avalign Companies about their failure to maintain

design history files.

        108.    The Avalign Companies also failed to implement other basic design controls.

        109.    Instrumed, for instance, had virtually no system for satisfying design control

requirements. Moreover, the Avalign Companies never validated that their devices were

designed in a manner by which their accompanying cleaning and sterilization instructions for use

would be effective in cleaning and sterilizing the devices.

        110.    Defendants knew, or recklessly disregarded the fact, that the Avalign Companies

failed to implement basic design controls for many devices, subject to design controls, as

required by federal law. For instance, Relator informed the Avalign Companies that basic design

controls were often completely lacking for certain devices and that the Avalign Companies had

never validated instructions for cleaning and sterilizing the devices, as required by FDA law.

The Avalign Companies used these instructions for nearly all of their devices.

        111.    As a result of these actions, the Avalign Companies marketed and caused their

customers to market thousands of medical devices in the United States that lacked the design

controls required by FDA to reasonably assure the safety and efficacy of the devices.




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        D.       Adulteration Through Lack of Required Purchasing Controls

         112.    Over the course of at least the last decade, the Avalign Companies illegally

marketed medical devices for distribution into the United States, and caused their customers to

market such devices, without implementing purchasing controls required by the QSR.

        113.    Purchasing controls mandate that device manufacturers select only those

suppliers, contractors, and consultants who have the capability to provide quality products and

services. Final Rule, 61 Fed. Reg. 52602, 52624 (Oct. 7, 1996).

        114.    Purchasing controls require manufacturers to, among other things, establish

product and quality specifications and requirements for their suppliers and to evaluate their

suppliers and document that evaluation. See 21 C.F.R.    §   820.50(b). In addition, manufacturers

must periodically review their suppliers “at intervals consistent with the significance of the

product or service provided, and the review should demonstrate conformance to specified

requirements.” 61 Fed. Reg. at 52624. This is often accomplished through annual audits.

These basic controls are meant to “provide a greater degree of assurance, beyond that provided

by receiving inspection and test, that the products received meet the finished device

manufacturer’s [or specification developer’s] requirements.” Id.

        115.    The Avalign Companies illegally marketed or caused others to market thousands

of medical devices that the Avalign Companies knew were manufactured or sourced without

purchasing controls as required by the QSR.

                1.     Instrumed’s Failure to Implement Purchasing Controls

        116.    Instrumed outsources manufacturing of approximately 90% of its products among

hundreds of different suppliers.

        117.    Yet, Instrumed lacks anything resembling purchasing controls.



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         118.   For instance. Instrumed did not establish product or quality specifications or

 requirements. With few exceptions, none of Instrumed’s suppliers had any contractual or

 otherwise documented arrangements specifying Instrumed’s product or quality specifications or

requirements. Instrumed never established, defined, or communicated specified requirements to

suppliers, including quality requirements. See 21 C,F.R.   § 820.50(a) (“Each manufacturer shall
establish and maintain the requirements, including quality requirements, that must be met by

suppliers”).

        119.    Nor did Instrumed ever evaluate its suppliers as required. With few exceptions,

Instrumed never audited or inspected its suppliers, never required third-party assessments, and

never required objective data from the suppliers that could be used to evaluate the capabilities of

the suppliers. Instrumed’s suppliers also lacked quality controls of their own.

        120.    In place of actual supplier evaluations, Instrumed used a one-page “approval

form” for each supplier, stating the conclusion that the supplier was approved. The forms were

unsupported by any evidence of a quality evaluation of the suppliers. Upon information and

belief, no quality personnel were even involved in the supplier “approval” process.

        121.    The Avalign Companies knew, or recklessly disregarded the fact, that Instrumed

failed to implement key requirements under the QSR, including purchasing controls for its

devices, as required by federal law. For instance, in 2012, Instrumed’s President declared that a

quality system was not necessary for Instrumed and would hurt the Instrumed business. As

another example, Instrumed continued to use a key supplier, K2, even after Relator reported that

K2 suffered from across-the-board quality control failures and even after Relator disqualified K2

as an Instrumed approved supplier. Yet, Instrumed continued to market devices produced

without purchasing controls.



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            122.   As a result of these actions, the Avalign Companies marketed and caused their

 customers to market thousands of medical devices in the United States that lacked the purchasing

 controls required by FDA to reasonably assure the safety and efficacy of the devices.

                   2.      Advantis’s Failure to Implement Purchasing Controls

        123,       Advantis failed to implement purchasing controls over its suppliers and

contractors, including those providing welding, passivation, and anodizing services.

        124.       The Avalign Companies knew. or recklessly disregarded the fact, that Advantis

failed to implement purchasing controls over its suppliers and contractors, as required by federal

law. For instance, Relator reported that Advantis failed to implement purchasing controls over

its suppliers and contractors, including those providing welding, passivation, and anodizing

services. Yet, the Avalign Companies continued to market devices produced without purchasing

controls.

        125.       As a result of these actions, the Avalign Companies marketed and caused their

customers to market medical devices in the United States that lacked the purchasing controls

required by FDA to reasonably assure the safety and efficacy of the devices.

        E.         Adulteration Through Lack of Compliance with Production Phase cGMPs

        126.       Over the course of at least the last decade, the Avalign Companies illegally

marketed medical devices for distribution into the United States, and caused their customers to

market such devices, without implementing production-related controls required by the QSR.

        127.       The Avalign Companies illegally marketed or caused others to market thousands

of different types of medical devices that the Avalign Companies knew were made without

production-related controls, as required by federal law.




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         128.   Production controls are critical to ensure that each manufacturer produces devices

that conform to their specifications. Production controls include, among other things, production

and process changes, documented workmanship criteria and environmental controls, as well as

process validations. See 21 C.F.R.   §   820.70-820.75.

        129.    The Avalign Companies largely operated without production-related controls.

                1.     Lack of Work Procedures or Instructions or Workmanship Standards

        130.    The Avalign Companies failed to establish work procedures or instructions and

workmanship standards as required by federal law.

        131.    For instance, Instrumed’ s manufacturing activities in Germany were conducted

without work instructions or defined workmanship standards.

        132.    As another example, for much of the relevant period, Advantis and NGI also

operated without written work instructions, and Nemcomed operated with limited work

instructions.

                2.     Lack of Environmental Controls

        133.    The Avalign Companies failed to implement necessary environmental controls as

required by federal law.

        134.    The Avalign Companies did not define or establish environmental controls to

assure that manufacturing conditions that could have an adverse impact on product quality were

understood, documented, maintained, or reviewed.

        135.    For instance, facilities at Instrumed, NGI, Nemcomed, and Advantis lacked any

written procedures or defined requirements dictating controlled environments for the companies’

manufacturing activities.




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         136.    The Avalign Companies also lacked written procedures for key elements that

could have an impact on equipment performance and materials maintenance, including

temperature. humidity. clean air controls, or cleanliness, even as the companies produced devices

that had to be used in sterile environments. There were no controls on manufacturing chemicals,

fluids. or operator controls (i.e., hand-washing requirements).

         137.   In addition, the Avalign Companies had obvious cleanliness issues, such as dust,

spider webs, and exposure to outside elements.

                3.      Failure to Validate Processes and Properly Control Manufacturing
                        Equipment

        138.    The Avalign Companies failed to validate production processes as required by

federal law.

        139.    For instance, the Avalign Companies failed to validate sterilization processes.

        140.    As another example, until 2010, Instrumed, NGI, and Advantis failed to validate

any of their special processes, including welding, laser etching, passivation, heat treating,

anodizing, and cleaning.

        141.    In addition, the Avalign Companies failed to assure that equipment used in

manufacturing processes met specified requirements. Prior to 2010, the Avalign Companies did

not have any processes or procedures defined to assure that equipment was designed, placed, or

installed correctly.

                4.     Lack of Acceptance Activity and Release Controls

        142.    Acceptance activity controls apply to products received by a manufacturer, such

as contract-made finished devices or components manufactured by suppliers. 21 C.F.R.

§ 820.80(b). They also apply to the acceptance of in-process devices and the acceptance and
release of finished devices produced by a manufacturer itself. 21 C.F.R.    § 820.80(c)-(d). When

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implemented, acceptance activity controls create checkpoints to test products against their

specifications and remove any defective or nonconforming products.

          143,       Instrumed did not maintain acceptance records for receiving, in-process, or final

inspection, as required by federal law.

          144.       Instrumed also did not establish or maintain procedures for acceptance of

incoming material. For instance, Instrumed would merely do a cosmetic check of supplier

products without inspecting for function, dimensions, or materials, either at acceptance from a

supplier or upon release. Instrumed failed to define in-process inspection criteria during

manufacturing processes or with suppliers.

                     5.     Lack of Device Record-Keeping

          145.       The production-related requirements obligate manufacturers to maintain both

device master records (DMRs) and device history records (DHR5), among other records. See 21

C.F’.R.   §   820.181 (DMR), 820.184 (DHR).

          146.   DMRs contain all of the instructions for manufacturing a device, including design

specifications (usually taken from the design history file (DHF) described above), drawings,

production methods, quality assurance procedures, acceptance criteria, and packaging and

labeling specifications. See 21 C.F.R.      §   820.181; see also 61 Fed. Reg. 52622.

          147.   DHRs include the details of a particular lot, batch, or unit, such as the date of

manufacture, volume of devices, acceptance records, identification labels, and control numbers.

See 21 C.F.R.    §    820.184.

          148.   The Avalign Companies did not maintain DMRs or DHRs for many products, as

required by federal law.




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        149.   Advantis DMRs lacked design specifications, inspection criteria, and part

numbers. The DMRs merely contained drawings.

        150.   Instrumed lacked most of the components of a DMR.

               6.      Failure to Properly Handle Nonconforming Products

        151.   Nonconforming products are products that fail to meet their specifications, often

at the end of the production cycle.

        152.   The QSR requires controls for nonconforming products, including a

determination of the need for an investigation into the cause, as well as procedures governing,

and documentation of, any disposition of nonconforming product (including reworking the

product into a saleable device). See 21 C.F.R.   § 820.90(a)-(c).
        153.   The Avalign Companies regularly ignored these requirements.

        154.   Instrumed frequently dictated that devices be reworked, without any

documentation or quality procedures.

        155.   CareFusion regularly sent a sales representative to visit Instrumed on a weekly

basis for the reworking of problematic devices, without documentation.

        156.   The Avalign Companies knew, or recklessly disregarded the fact, that the Avalign

Companies failed to implement production-related controls, as required by federal law. For

instance, Relator reported production-related violations of the QSR to the Avalign Companies.

Yet, the Avalign Companies continued to market, and caused others to market, devices made

without production-related controls.

       157.    As a result of these actions, the Avalign Companies marketed and caused their

customers to market thousands of medical devices in the United States made without production

related controls required by FDA to reasonably assure the safety and efficacy of the devices.



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          F.       Misbranding Through False and Inadequate Labeling

          158.     Over the course of at least the last decade, the Avalign Companies illegally

marketed medical devices with false, misleading, and/or inadequate labeling for distribution into

the United States, and caused their customers to market such devices, without labeling required

by law.

          159.     A device is misbranded if “its labeling is false or misleading in any particular.”

21 U.S.C.      § 352(a).
          160.     The Avalign Companies misbranded devices by including false and misleading

information in labeling.

          161.     For instance, the domestic site of Instrumed in Schaumburg, Illinois permanently

laser-marked certain devices as ‘Made in Germany,” which were not made in Germany in any

part. The devices were in fact made in Pakistan.

          162.     A device is also misbranded if its labeling does not include adequate directions

for use or adequate warnings. 21 U.S.C.       § 352(f).
          163.     Instrumed regularly violated this rule.

          164.     For instance, Instrumed regularly shipped products without any instructions for

use (‘IFUs”) in the case of certain devices.

          165.     As another example, Instrumed removed IFUs that a supplier, Trokamed, as the

510(k)-holder of the device, provided to Instrumed. Customers using the Trokamed-made

devices experienced significant problems, including patient injuries that Instrumed attributed to

misuse. Yet, the users lacked the IFUs.

        166.      Similarly, the Avalign Companies repeatedly failed to determine and indicate the

shelf life of devices where relevant in labeling.



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        167.     The Avalign Companies generally did not include such information, even when

the devices could become unsafe or ineffective after a period of use.

        168.     Nor did the Avalign Companies provide valid instructions on sterilization. As

noted above, Instrumed used a one-size-fits-all IFU addressing sterilization with nearly all of its

devices. These instructions were not validated with respect to any device. Their inclusion is

both inadequate and misleading, as the instructions do not describe a validated procedure.

        169.    Defendants knew, or recklessly disregarded the fact, that the Avalign Companies

failed to comply with FDA labeling requirements. For instance, Relator informed the Avalign

Companies that their labels and/or other labeling were insufficient. Yet, the Avalign Companies

continued to market the misbranded devices.

        170.    As a result of these actions, the Avalign Companies marketed and caused their

customers to market thousands of misbranded medical devices in the United States that had false

or misleading statements or that lacked accurate and complete labeling as required by FDA to

reasonably assure the safety and efficacy of the devices.

        G.      Adulteration Through Lack of Complaint Handling Procedures and CAPA

        171.    Over the course of at least the last decade, the Avalign Companies illegally

marketed medical devices for distribution into the United States, and caused their customers to

market such devices, without proper complaint handling and CAPA, as required by the QSR to

guard against product problems that could pose safety and efficacy issues for patients.

        172.    The QSR requires manufacturers to implement complaint handling processes,

including to maintain complaint files and to conduct investigations when complaints involve the

possible failure of a device, or its packaging or labeling to meet specifications or involving MDR

reportable event. 21 C.F.R. 5
                            § 820.198. In addition, manufacturers must establish procedures
                            S



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for, and when appropriate conduct, corrective and preventive actions (CAPA) to address product

and other quality problems. 21 C.F.R.    § 820.100.
        173.    The Avalign Companies largely failed to investigate complaints when required

and frequently ignored the key CAPA requirements.

        174.    None of the Avalign Companies had adequate complaint handling processes.

        175.    For instance, none of the companies conducted legitimate investigations into root

causes of device failures, and none had any management oversight of CAPA generally.

        176.   Instrumed had no process for establishing CAPA where appropriate.

        177.   The Avalign Companies often failed to follow up with suppliers who provided

components or finished devices to the Avalign Companies, when the components or finished

devices were subjects of complaints.

        178.   CareFusion regularly sent a sales representative to visit Instrumed on a weekly

basis for the reworking of problematic devices, without documentation. These returns were not

treated as complaints or the failures investigated.

        179.   The lack of legitimate failure investigations and root cause analyses meant that

devices continually failed without solutions to fix problems.

        180.   The Avalign Defendants knew, or recklessly disregarded the fact, that Avalign

failed to implement sufficient complaint handling and CAPA processes, as required by federal

law. For instance, Relator reported to Avalign that existing procedures and practices were

insufficient. Relator reported to Avalign and Instrumed that Instrumed lacked, among other

requirements, investigation and documentation of root causes of product problems, evidence of

corrective action, and documentation of containment actions. Yet, Avalign and Instrumed

continued to market devices lacking sufficient complaint handling and CAPA processes to



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address actual or potential product problems which could pose safety or efficacy issues for

patients.

        181.    As a result of these actions, the Avalign Companies marketed and caused their

customers to market thousands of adulterated medical devices in the United States by virtue of

noncompliant complaint handling and CAPA processes which did not reasonably assure the

safety and efficacy of the devices.

        H.      Misbranding Through Failure to File MDRs

        182.    Over the course of at least the last decade, the Avalign Companies illegally

marketed medical devices for distribution into the United States, and caused their customers to

market such devices, without reporting MDRs. as required by federal law.

        183.    Tn general, finished device manufacturers, importers, and others are required to

report certain device-related deaths, serious injuries, and/or malfunctions to FDA. For example,

manufacturers must report after they became aware of information that “reasonably suggests that

a device may have caused or contributed to a death or serious injury” or “reasonably suggests a

device has malfunctioned and that this device or a similar device [that the manufacturer marketsi

would be likely to cause or contribute to a death or serious injury if the malfunction were to

recur.” 21 C.F.R.   § 803.20(b)(3).
        184.   These reports are called medical device reports or MDRs.

       185.    Prior to 2011, Instrumed (Germany), Nemcomed and Advantis all failed to have

procedures or processes defined to evaluate complaints and to file MDRs.

       186.    Instrumed intentionally refused to file certain MDRs.




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        1 87.   Instrumed did not file MDRs, as required by federal law, following reports of, for

instance, device malfunctions that could cause, for example, penile amputations, or burns to

various body organs.

        188.    Prior to June 2011. Instrumed repeatedly failed to submit MDRs to FDA, as

required. when it learned information suggesting its devices “may have caused or contributed to

a death or serious injury,” or “malfunctioned” and would likely “cause or contribute to a death or

serious injury if the malfunction were to recur.” See 21 C.F.R.   § 803 .20(b)(3).
        189.    The Avalign Companies knew, or recklessly disregarded the fact, that the Avalign

Companies failed to report MDRs, as required by federal law. They continued to market devices

for which they had wrongfully withheld MDR filings.

        190.    As a result of these actions, the Avalign Companies marketed and caused their

customers to market thousands of misbranded medical devices in the United States by failing to

file MDRs as required by FDA law to reasonably assure the safety and efficacy of the devices.

       I.       Adulteration Through Other QSR Violations

        191.    Over the course of at least the last decade, the Avalign Companies illegally

marketed medical devices for distribution into the United States, and caused their customers to

market such devices, in violation of other QSR requirements, beyond those described above.

        192.    The QSR requires manufacturers to establish quality plans defining quality

practices, resources, and activities relevant to devices that are designed and manufactured by the

manufacturer. See 21 C.F.R.   § 820.20.
       193.     Until 2009, none of the Avalign Companies had any quality plan.

       194.     Until 2012, none of the Avalign Companies fully implemented a quality plan.

       195.     Instrumed never fully implemented a quality plan.



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        1%.     The QSR requires manufacturers to establish procedures for quality audits and to

conduct audits to assure that the quality system is in compliance with the QSR. See 21 C.F.R.

§ 820.22.
        197.    Until 2009, none ofthe Avalign Companies had any procedures for conducting

quality audits, as required by the QSR.

        198.    The QSR also requires manufacturers to provide adequate resources, including

assignment of trained personnel, for management, performance of work, and assessment

activities, including internal quality audits, to meet the QSR requirements. See 21 C.F.R.

§ 820.20(d).
        199.   None of the Avalign Companies dedicated adequate resources to meet the

requirements of the QSR.

        200.   The QSR also requires manufacturers, where appropriate, to establish and

maintain valid statistical sampling plans. See 21 C.F.R. § 820250.

       201.    None of the Avalign Companies established valid statistical sampling plans as

required by the QSR.

       202.    The QSR requires manufacturers to establish and maintain document procedures

to control all documents required by the QSR. See 21 C.F.R. § 820.40.

       203.    None of the Avalign Companies instituted adequate document controls as

required by the QSR.

       204.    The QSR requires manufacturers to ensure that device packaging and shipping

containers are designed and constructed to protect devices from alteration or damage during

processing, storage, handling, and distribution. See 21 C.F.R. § 820.130.




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        205.     Instrumed, NOl. and Nemcomed failed to design and construct packaging to

protect devices from alteration or damage. and none of these Defendants conducted any

validation activities to assure that medical devices would not be altered or damaged in their

packages.

IV.     FDA VIOLATIONS BY CAREFUSION

        206.     CareFusion knew about many of the problems at the Avalign Companies, or

recklessly disregarded the fact that the Avalign-produced devices it was distributing were non-

cleared and otherwise adulterated or misbranded.

        207.     The Avalign Companies promised quicker and cheaper products. They cut

corners to do so. CareFusion knew or should have known, from its own experiences, that the

Avalign Companies were making promises that were too good to be true.

        208.     Indeed, CareFusion was keenly aware of gross FDA law violations by Instrumed,

but looked the other way.

        A.      Lack of 510(k) Clearance

        209.    For instance, CareFusion knew that Instrumed was distributing devices without

required 510(k) clearance or evidence of preamendment status.

       210.     For example, on December 13, 2010, CareFusion emailed a list of devices to

Instrumed and identified that “I have the following products from Instrumed that have a

‘Preamendrnent’ regulatory status, but no evidence in the file to support that status.”

       211.     CareFusion asked Instrumed “Do you have a 510K to cover these items? If not,
                                             ,




do you have evidence of preamendment status that we could obtain for our files?”

       212.     In response, Instrumed bluntly responded: ‘No.”
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        213.    Upon information and belief. CareFusion continued to purchase and distribute

these non-cleared devices from Instrumed.

        B.      IFU Issues

       214.     As another example, CareFusion purchased and distributed medical devices from

the Avalign Companies without proper instructions for use (“IFUs”).

       215.     CareFusion frequently looked to Instrumed to assist with issues regarding gaps in

its IFU documentation, while continuing to market products without the proper documentation.

       216.     In fact, as late as June 2013, CareFusion was packaging devices purchased from

Instrumed containing obsolete IFUs.

       217.     CareFusion continued to market products without proper labeling while they

investigated the gaps in labeling.

       218.     Upon information and belief, CareFusion knew of, or deliberately ignored

evidence of Avalign’s systemic disregard for FDA requirements.

V.     FDA VIOLATIONS BY DEPUY

       219.     DePuy knew about many of the problems at the Avalign Companies, or recklessly

disregarded the fact that the Avalign-produced devices it was distributing were non-cleared and

otherwise adulterated or misbranded.

       220.     The Avalign Companies promised quicker and cheaper products. They cut

corners to do so. DePuy knew or should have known, from its own experiences, that the Avalign

Companies were making promises that were too good to be true.

       221.     Indeed, DePuy was keenly aware of gross FDA law violations by Instrumed,

Advantis. and NGI, but looked the other way.




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        A.       Lack of Purchasing Controls

        222.     For instance. DePuv knew, or recklessly disregarded the fact that. Instrumed and

NGI were distributing devices to it when Instrumed and NGI were not applying required

purchasing controls to their suppliers.

        223.     DePuy never audited Instrumed’s purchasing controls.

        224.     DePuy knew that NGI did not evaluate supplier capability to meet specified

requirements, as required by the QSR. Yet, DePuy continued to market devices made without

sufficient purchasing controls.

        225.     DePuy recklessly disregarded similar purchasing control failures at other Avalign

Companies, including Instrumed.

        B.       Lack of Labeling Oversight

        226.     As another example, DePuy knew, or recklessly disregarded the fact that, DePuy

shipped devices manufactured by Advantis and NGI with grossly insufficient labeling.

       227.      Advantis and NGI shipped devices to DePuy with inventory tags and

identification labels, rather than FDA-compliant labeling. Advantis and NGI did not have

validated processes for applying the correct tags and labels, and the tags and labels did not

comply with FDA content requirements.

       228.     DePuy re-packaged and distributed the Advantis and NGI devices without

removing the unvalidated inventory tags and identification labels and without substituting FDA

compliant labeling.

       229.     As a result, DePuy distributed devices lacking labeling that complied with federal

law.




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                                         CONCLUSION

        230.   For at least the last decade, Defendants have marketed, or caused others to

market, thousands of medical devices within the United States in violation of federal laws

designed to assure the devices’ safety and efficacy. These devices have lacked FDA clearance

for marketing and have otherwise been adulterated and misbranded.

        231.   The FDA law violations have not been isolated, sporadic, or immaterial to public

safety. Rather, the Avalign Companies have engaged in chronic, systemic, and egregious

violations of FDA law. The violations have covered the spectrum of FDA regulation of medical

devices, from lack of5lO(k) clearance and QSR design controls, through lack of purchasing and

production-related controls, to labeling, complaint handling, CAPA, MDR reporting, and other

QSR violations.

        232.   These systemic violations pose significant risks to public health.

       233.    Defendants knew, or recklessly disregarded the fact, that the Avalign Companies

and CareFusion and DePuy were marketing, or causing others to market, thousands of medical

devices within the United States in violation of federal laws designed to assure the devices’

safety and efficacy. Defendants repeatedly chose to ignore violations of FDA law and to

continue marketing, or to continue causing others to market, medical devices in violation of

Section 510(k) of the FDCA, the QSR, and/or other provisions of FDA law. Among other

things, the Avalign Companies and RoundTable ignored Relator’s repeated reports of violations

of FDA law.

       234.    On information and belief, the federal and state governments have, unwittingly, in

violation of federal and state payment rules and conditions, spent billions of taxpayer dollars on




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purchasing these devices, reimbursing purchases of these devices, and reimbursing procedures

using these devices.

                                             COUNT I

                                 Violations of the False Claims Act
                                    (31 U.S.C. § 3729(a)(l)(A))
                                   Presentation of False Claims

        235.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        236.    Defendants knowingly, or acting with deliberate ignorance andlor reckless

disregard of the truth, presented and/or caused to be presented, to the Government and/or to

contractors, grantees, or other recipients of Government funds used to advance Government

interests, false and fraudulent claims for payment in connection with introducing non-cleared and

otherwise adulterated and/or misbranded devices into interstate commerce.

        237.    The Government paid claims and incurred losses, and/or contractors, grantees, or

other recipients of Government funds used to advance Government interests paid claims and

incurred losses, as a result of Defendants’ wrongful conduct.

        238.    By reason of such false and/or fraudulent claims, the Government has been

damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

                                            COUNT II

                                 Violations of the False Claims Act
                                    (31 U.S.C. § 3729(a)(1)(B))
                                      Use of False Statements

        239.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.



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        240.    Defendants knowingly, or acting with deliberate ignorance and/or reckless

disregard of the truth, made, used, or caused to be made or used, false records and/or statements

material to false or fraudulent claims to the Government and/or to contractors, grantees, or other

recipients of Government funds used to advance Government interests, in connection with

introducing non-cleared and otherwise adulterated and/or misbranded devices into interstate

commerce.

        241.    The Government paid claims and incurred losses. andior contractors, grantees, or

other recipients of Government funds used to advance Government interests paid claims and

incurred losses, as a result of Defendants’ wrongful conduct.

        242,    By reason of such false and/or fraudulent claims, the Government has been

damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

                                            COUNT III

                                 Violations of the False Claims Act
                                    (31 U.S.C. § 3729(a)(1)(C))
                                            Conspiracy

        243.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        244.    Defendants conspired between and among themselves to commit the violations set

forth in the preceding claims.

        245.    The Government paid claims and incurred losses, and/or contractors, grantees, or

other recipients of Government funds used to advance Government interests paid claims and

incurred losses, as a result of Defendants’ wrongful conduct.




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        246.    By reason of such false and/or fraudulent claims, the Government has been

damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

                                                COUNT IV

                               Violation of the California False Claims Act
                                     (Cal. Govt. Code. § 1265 etseq.)

        247,    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        248.    Defendants knowingly, or acting with deliberate ignorance and/or reckless

disregard of the truth, presented and/or caused to be presented, to the State of California andlor

to contractors, grantees, or other recipients of the State of California funds used to advance the

State of California’s interests, false and fraudulent claims for payment in connection with

introducing non-cleared and otherwise adulterated and/or misbranded devices for sale in the

State of California.

        249.    The State of California paid claims and incurred losses, and/or contractors,

grantees, or other recipients of the State of California funds used to advance the interests of the

State of California paid claims and incurred losses, as a result of Defendants’ wrongful conduct.

       250.    By reason of such false and/or fraudulent claims, the State of California has been

damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

       251.    Pursuant to Cal. Govt. Code   § 12651(a), the State of California is entitled to three
times the amount of actual damages plus the maximum penalty of $10,000 for each and every

false or fraudulent claim, record or statement made, used, presented or cause to be made, used or

presented by Defendants.


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                                                     COUNT V

                                                Violation of the
                                     Colorado Medicaid False Claims Act
                                     (Col. Rev. Stat. § 25.5-4-303.5 et seq.)

        252.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        253.    Defendants knowingly, or acting with deliberate ignorance and/or reckless

disregard of the truth, presented and/or caused to be presented, to the State of Colorado and/or to

contractors, grantees, or other recipients of the State of Colorado funds used to advance the

interests of the State of Colorado, false and fraudulent claims for payment in connection with

introducing non-cleared and otherwise adulterated and/or misbranded devices for sale in the

State of Colorado.

        254.    The State of Colorado paid claims and incurred losses, and/or contractors,

grantees, or other recipients of the State of Colorado funds used to advance the interests of the

State of Colorado paid claims and incurred losses, as a result of Defendants’ wrongful conduct.

        255.    By reason of such false and/or fraudulent claims, the State of Colorado has been

damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

       256.    Pursuant to Col. Rev. Stat.    §   25.5-4-305, the State of Colorado is entitled to three

times the amount of actual damages plus the maximum penalty of $10,000 for each and every

false or fraudulent claim, record or statement made, used, presented or cause to be made, used or

presented by Defendants.




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                                                  COUNT VI

                                Violations of Connecticut False Claims Act
                                     For Medical Assistance Programs
                                    (Conn. Gen. Stat. § 17b-301 et seq.)

        257.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        258.    Defendants knowingly, or acting with deliberate ignorance and/or reckless

disregard of the truth, presented and/or caused to be presented, to the State of Connecticut and/or

to contractors. grantees. or other recipients of the State of Connecticut funds used to advance the

interests of the State of Connecticut, false and fraudulent claims for payment in connection with

introducing non-cleared and otherwise adulterated and/or misbranded devices for sale in the

State of Connecticut.

        259.   The State of Connecticut paid claims and incurred losses, and/or contractors,

grantees, or other recipients of the State of Connecticut funds used to advance the interests of the

State of Connecticut paid claims and incurred losses, as a result of Defendants’ wrongful

conduct.

       260.    By reason of such false and/or fraudulent claims, the State of Connecticut has

been damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

       261.    Pursuant to Conn. Gen. Stat.   §   17b-301b, the State of Connecticut is entitled to

three times the amount of actual damages plus the maximum penalty of $11,000 for each and

every false or fraudulent claim, record or statement made, used, presented or cause to be made,

used or presented by Defendants.




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                                               COUNT VII

                                             Violation of the
                                Delaware False Claims and Reporting Act
                                  (Del. Code. Ann. tit. 6, § 1201 et seq.)

        262.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        263.    Defendants knowingly, or acting with deliberate ignorance and/or reckless

disregard of the truth, presented and/or caused to be presented, to the State of Delaware and/or to

contractors. grantees. or other recipients of the State of Delaware funds used to advance the

interests of the State of Delaware, false and fraudulent claims for payment in connection with

introducing non-cleared and otherwise adulterated and/or misbranded devices for sale in the

State of Delaware.

        264.    The State of Delaware paid claims and incurred losses, and/or contractors,

grantees. or other recipients of the State of Delaware funds used to advance the interests of the

State of Delaware paid claims and incurred losses, as a result of Defendants’ wrongful conduct.

       265.     By reason of such false andlor fraudulent claims, the State of Delaware has been

damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

       266.    Pursuant to Del. Code Ann. tit. 6,   §   120 1(a), the State of Delaware is entitled to

three times the amount of actual damages plus the maximum penalty of $11,000 for each and

every false or fraudulent claim, record or statement made, used, presented or cause to be made,

used or presented by Defendants.




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                                                COUNT VIII

                                     Violation of the District of Columbia
                                               False Claims Act
                                      (D.C. Code Ann. § 2-308.03 et seq.)

        267.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        268.    Defendants knowingly, or acting with deliberate ignorance and/or reckless

disregard of the truth, presented and/or caused to be presented, to the District of Columbia and/or

to contractors. grantees. or other recipients of the District of Columbia funds used to advance the

interests of the District of Columbia, false and fraudulent claims for payment in connection with

introducing non-cleared and otherwise adulterated and/or misbranded devices for sale in the

District of Columbia.

        269.    The District of Columbia paid claims and incurred losses, and/or contractors,

grantees. or other recipients of the District of Columbia funds used to advance the interests of the

District of Columbia paid claims and incurred losses, as a result of Defendants’ wrongful

conduct.

       270.    By reason of such false and/or fraudulent claims, the District of Columbia has

been damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

       271.    Pursuant to D.C. Code Ann.      § 2-308.14, the District of Columbia is entitled to
three times the amount of actual damages plus the maximum penalty of $10,000 for each and

every false or fraudulent claim, record or statement made, used, presented or cause to be made,

used or presented by the Defendants.




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                                                    COUNT IX

                                 Violation of the Florida False Claims Act
                                      (Fla. Stat. Ann. § 68.08 1 et seq.)

        272.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        273.    Defendants knowingly, or acting with deliberate ignorance and/or reckless

disregard of the truth, presented and/or caused to be presented, to the State of Florida and/or to

contractors, grantees. or other recipients of the State of Florida funds used to advance the

interests of the State of Florida, false and fraudulent claims for payment in connection with

introducing non-cleared and otherwise adulterated and/or misbranded devices for sale in the

State of Florida.

        274.    The State of Florida paid claims and incurred losses, and/or contractors, grantees,

or other recipients of the State of Florida funds used to advance the interests of the State of

Florida paid claims and incurred losses, as a result of Defendants’ wrongful conduct.

        275.    By reason of such false and/or fraudulent claims, the State of Florida has been

damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

        276.    Pursuant to Fla. Stat. Ann.   §   68.082.2, the State of Florida is entitled to three

times the amount of actual damages plus the maximum penalty of $11,000 for each and every

false or fraudulent claim, record or statement made, used, presented or cause to be made, used or

presented by the Defendants.




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                                                COUNTX

                           Violation of the Georgia False Medicaid Claims Act
                                   (Ga. Code Ann. § 49-4-168.1 et seq.)

        277.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        278.    Defendants knowingly, or acting with deliberate ignorance andlor reckless

disregard of the truth, presented andlor caused to be presented, to the State of Georgia and/or to

contractors. grantees, or other recipients of the State of Georgia funds used to advance the

interests of the State of Georgia, false and fraudulent claims for payment in connection with

introducing non-cleared and otherwise adulterated and/or misbranded devices for sale in the

State of Georgia.

        279.    The State of Georgia paid claims and incurred losses, and/or contractors. grantees,

or other recipients of the State of Georgia funds used to advance the interests of the State of

Georgia paid claims and incurred losses, as a result of Defendants’ wrongful conduct.

        280.    By reason of such false and/or fraudulent claims, the State of Georgia has been

damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

       281.    Pursuant to Ga. Code Ann.    § 49-4-168.1(a), the State of Georgia is entitled to
three times the amount of actual damages plus the maximum penalty of $11,000 for each and

every false or fraudulent claim, record or statement made, used, presented or cause to be made,

used or presented by the Defendants.




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                                                    COUNT XI

                                Violation of the Hawaii False Claims Act
                                    (Haw. Rev. Stat. § 661-21 etseq.)

        282.   This Complaint incorporates by reference each of the preceding paragraphs as if

full set forth in this paragraph.

        283.   Defendants knowingly. or acting with deliberate ignorance and/or reckless

disregard of the truth, presented and/or caused to be presented, to the State of Hawaii and/or to

contractors, grantees, or other recipients of the State of Hawaii funds used to advance the

interests of the State of Hawaii, false and fraudulent claims for payment in connection with

introducing non-cleared and otherwise adulterated and/or misbranded devices for sale in the

State of Hawaii.

        284.   The State of Hawaii paid claims and incurred losses, and/or contractors, grantees,

or other recipients of the State of Hawaii funds used to advance the interests of the State of

Hawaii paid claims and incurred losses, as a result of Defendants’ wrongful conduct.

       285.    By reason of such false and/or fraudulent claims, the State of Hawaii has been

damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

       286.    Pursuant to I-law. Rev. Stat.   §   661-21(a), the State of Hawaii is entitled to three

times the amount of actual damages plus the maximum penalty of $10,000 for each and every

false or fraudulent claim, record or statement made, used, presented or cause to be made, used or

presented by the Defendants.




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                                                 COUNT XII

                                         VioLation of the Illinois
                                Whistleblower Reward and Protection Act
                                  (740 Iii. Comp. Stat. § 175/1 etseq.)

        287.     This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        288.     Defendants knowingly. or acting with deliberate ignorance and/or reckless

disregard of the truth, presented and/or caused to be presented, to the State of Illinois and/or to

contractors, grantees, or other recipients of the State of Illinois funds used to advance the

interests of the State of Illinois, false and fraudulent claims for payment in connection with

introducing non-cleared and otherwise adulterated and/or misbranded devices for sale in the

State of Illinois.

        289.     The State of Illinois paid claims and incurred losses, and/or contractors, grantees,

or other recipients of the State of Illinois funds used to advance the interests of the State of

Illinois paid claims and incurred losses, as a result of Defendants’ wrongful conduct.

        290.     By reason of such false and/or fraudulent claims, the State of Illinois has been

damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

        291.     Pursuant to 740 III. Comp. Stat.   §   175/3(a), the State of Illinois is entitled to three

times the amount of actual damages plus the maximum penalty of $11,000 for each and every

false or fraudulent claim, record or statement made, used, presented or cause to be made, used or

presented by the Defendants.




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                                                   COUNT XIII

                                     Violation of the Indiana False Claims
                                      and Whistleblower Protection Act
                                        (md. Code § 5-11-5.5-1 etseq.)

        292.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        293.    Defendants knowingly, or acting with deliberate ignorance and/or reckless

disregard of the truth, presented and/or caused to be presented, to the State of Indiana and/or to

contractors, grantees, or other recipients of the State of Indiana funds used to advance the

interests of the State of Indiana, false and fraudulent claims for payment in connection with

introducing non-cleared and otherwise adulterated and/or misbranded devices for sale in the

State of Indiana.

        294.    The State of Indiana paid claims and incurred losses, and/or contractors, grantees,

or other recipients of the State of Indiana funds used to advance the interests of the State of

Indiana paid claims and incurred losses, as a result of Defendants’ wrongful conduct.

        295.    By reason of such false and/or fraudulent claims, the State of Indiana has been

damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

       296.     Pursuant to Ind. Code    §   5-11-5.5-2(b), the State of Indiana is entitled to three

times the amount of actual damages plus the maximum penalty of $5,000 for each and every

false or fraudulent claim, record or statement made, used, presented or cause to be made, used or

presented by the Defendants.




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                                                  COUNT XIV

                                     Violations of Iowa False Claims Act
                                          (Iowa Code § 685 etseq.)

        297.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        298.    Defendants knowingly, or acting with deliberate ignorance and/or reckless

disregard of the truth, presented and/or caused to be presented, to the State of Iowa and/or to

contractors, grantees. or other recipients of the State of Iowa funds used to advance the interests

of the State of Iowa. false and fraudulent claims for paYment in connection with introducing non-

cleared and otherwise adulterated and/or misbranded devices for sale in the State of Iowa.

        299.    The State of Iowa paid claims and incurred losses, and/or contractors, grantees, or

other recipients of the State of Iowa funds used to advance the interests of the State of Iowa paid

claims and incurred losses, as a result of Defendants’ wrongful conduct.

        300.    By reason of such false and/or fraudulent claims, the State of Iowa has been

damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

        301.    Pursuant to Iowa Code    §   685.2, the State of Iowa is entitled to three times the

amount of actual damages plus the maximum penalty of $10,000 for each and every false or

fraudulent claim, record or statement made, used, presented or cause to be made, used or

presented by the Defendants.




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                                                  COUNT XV

                                       Violation of the Louisiana
                               Medical Assistance Programs Integrity Law
                                 (La. Rev. Stat. Ann. § 46:439.1 etseq.)

        302.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        303.    Defendants knowingly, or acting with deliberate ignorance and/or reckless

disregard of the truth, presented and/or caused to be presented, to the State of Louisiana and/or to

contractors, grantees. or other recipients of the State of Louisiana funds used to advance the

interests of the State of Louisiana, false and fraudulent claims for payment in connection with

introducing non-cleared and otherwise adulterated and/or misbranded devices for sale in the

State of Louisiana.

        304.    The State of Louisiana paid claims and incurred losses, and/or contractors,

grantees, or other recipients of the State of Louisiana funds used to advance the interests of the

State of Louisiana paid claims and incurred losses, as a result of Defendants’ wrongful conduct.

        305.    By reason of such false and/or fraudulent claims, the State of Louisiana has been

damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

        306.    Pursuant to La. Rev. Stat. Ann.   § 46:438.6, the State of Louisiana is entitled to
three times the amount of actual damages plus the maximum penalty ofSlO,000 for each and

every false or fraudulent claim, record or statement made, used, presented or cause to be made,

used or presented by the Defendants.




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                                               COUNT XVI

                                  Violations of the Maryland
                                    False Health Claims Act
                         (Md. Health-General Code Ann. § 2-602 et seq.)

        307.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        308.    Defendants knowingly, or acting with deliberate ignorance and/or reckless

disregard of the truth, presented and/or caused to be presented, to the State of Maryland and/or to

contractors, grantees, or other recipients of the State of Maryland funds used to advance the

interests of the State of Maryland, false and fraudulent claims for payment in connection with

introducing non-cleared and otherwise adulterated andlor misbranded devices for sale in the

State of Maryland.

        309.    The State of Maryland paid claims and incurred losses, and/or contractors,

grantees, or other recipients of the State of Maryland funds used to advance the interests of the

State of Maryland paid claims and incurred losses, as a result of Defendants’ wrongful conduct.

        310.    By reason of such false and/or fraudulent claims, the State of Maryland has been

damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

       311.    Pursuant to Md. HEALTH-GENERAL Code Ann.             § 2-602(b)(i) and (ii), the State
of Maryland is entitled to three times the amount of actual damages plus the maximum penalty of

$10,000 for each and every false or fraudulent claim, record or statement made, used, presented

or cause to be made, used or presented by the Defendants.
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                                           COUNT XVII

                            Violation of the Massachusetts False Claims Law
                                  (Mass. Gen. Law. ch. 12, § 5A et seq.)

        312.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        313.    Defendants knowingly. or acting with deliberate ignorance and/or reckless

disregard of the truth, presented and/or caused to be presented, to the Commonwealth of

Massachusetts and/or to contractors, grantees, or other recipients of the Commonwealth of

Massachusetts funds used to advance the interests of the Commonwealth of Massachusetts, false

and fraudulent claims for payment in connection with introducing non-cleared and otherwise

adulterated and/or misbranded devices for sale in the Commonwealth of Massachusetts.

        314.    The Commonwealth of Massachusetts paid claims and incurred losses, and/or

contractors, grantees, or other recipients of the Commonwealth of Massachusetts funds used to

advance the interests of the Commonwealth of Massachusetts paid claims and incurred losses, as

a result of Defendants’ wrongful conduct.

        315.   By reason of such false and/or fraudulent claims, the Commonwealth of

Massachusetts has been damaged in a substantial amount to be determined at trial and is entitled

to a civil penalty as required by law for each violation.

       316.    Pursuant to Mass. Gen. Law. ch. 12,    §   SB, the Commonwealth of Massachusetts

is entitled to three times the amount of actual damages plus the maximum penalty of $10,000 for

each and every false or fraudulent claim, record or statement made, used, presented or cause to

be made, used or presented by the Defendants.




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                                               COUNT XVIII

                                          Violation of the Michigan
                                         Medicaid False Claims Act
                                     (Mich. Comp. Laws § 400.601 et seq.)

        317,    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        318.    Defendants knowingly. or acting with deliberate ignorance and/or reckless

disregard of the truth, presented and/or caused to be presented, to the State of Michigan and/or to

contractors. grantees. or other recipients of the State of Michigan funds used to advance the

interests of the State of Michigan, false and fraudulent claims for payment in connection with

introducing non-cleared and otherwise adulterated and/or misbranded devices for sale in the

State of Michigan.

        319.    The State of Michigan paid claims and incurred losses, and/or contractors,

grantees, or other recipients of the State of Michigan funds used to advance the interests of the

State of Michigan paid claims and incurred losses, as a result of Defendants’ wrongful conduct.

        320.    By reason of such false and/or fraudulent claims, the State of Michigan has been

damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

       321.     Pursuant to Mich. Comp. Laws     §   400.612, the State of Michigan is entitled to a

civil penalty equal to the full amount received by the person benefiting from the fraud, three

times the amount of actual damages, plus the maximum penalty of $10,000 for each and every

false or fraudulent claim, record or statement presented or caused to be presented by the

Defendants.




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                                               COUNT XIX

                               Violations of the Minnesota False Claims Act
                                        (Minn. Stat. § 15C.Ol etseq.)

        322.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        323.    Defendants knowingly, or acting with deliberate ignorance and/or reckless

disregard of the truth, presented and/or caused to be presented, to the State of Minnesota and/or

to contractors, grantees, or other recipients of the State of Minnesota funds used to advance the

interests of the State of Minnesota, false and fraudulent claims for payment in connection with

introducing non-cleared and otherwise adulterated and/or misbranded devices for sale in the

State of Minnesota.

       324.    The State of Minnesota paid claims and incurred losses, and/or contractors,

grantees, or other recipients of the State of Minnesota funds used to advance the interests of the

State of Minnesota paid claims and incurred losses, as a result of Defendants’ wrongful conduct.

       325.    By reason of such false and/or fraudulent claims, the State of Minnesota has been

damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

       326.    Pursuant to Minn. Stat.   § 15C.02(a), the State of Minnesota is entitled to three
times the amount of actual damages plus the maximum penalty of $11,000 for each and every

false or fraudulent claim, record or statement made. used, presented or cause to be made. used or

presented by the Defendants.




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                                               COUNT XX

                               Violations of the Montana False Claims Act
                                  (Mont. Code Ann. § 17-8-401 etseq.)

        327.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        328.    Defendants knowingly. or acting with deliberate ignorance andlor reckless

disregard of the truth, presented and/or caused to be presented, to the State of Montana and/or to

contractors, grantees, or other recipients of the State of Montana funds used to advance the

interests of the State of Montana, false and fraudulent claims for payment in connection with

introducing non-cleared and otherwise adulterated and/or misbranded devices for sale in the

State of Montana.

        329.    The State of Montana paid claims and incurred losses, and/or contractors,

grantees, or other recipients of the State of Montana funds used to advance the interests of the

State of Montana paid claims and incurred losses, as a result of Defendants’ wrongful conduct.

       330.    By reason of such false and/or fraudulent claims, the State of Montana has been

damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

       331.    Pursuant to Mont. Code Ann.    § 17-8-403, the State of Montana is entitled to three
times the amount of actual damages plus the maximum penalty of $11,000 for each and every

false or fraudulent claim, record or statement made, used, presented or cause to be made, used or

presented by the Defendants.




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                                                  COUNT XXI

                                 Violation of the Nevada False Claims Act
                                     (Nev. Rev. Stat. § 357.010 et seq.)

        332.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        333,    Defendants knowingly, or acting with deliberate ignorance and/or reckless

disregard of the truth, presented and/or caused to be presented, to the State of Nevada and/or to

contractors. grantees. or other recipients of the State of Nevada funds used to advance the

interests of the State of Nevada, false and fraudulent claims for payment in connection with

introducing non-cleared and otherwise adulterated and/or misbranded devices for sale in the

State of Nevada.

        334.   The State of Nevada paid claims and incurred losses, and/or contractors, grantees,

or other recipients of the State of Nevada funds used to advance the interests of the State of

Nevada paid claims and incurred losses, as a result of Defendants’ wrongful conduct.

        335.   By reason of such false andlor fraudulent claims, the State of Nevada has been

damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

       336.    Pursuant to Nev. Rev. Stat.   §   357.040(1), the State of Nevada is entitled to three

times the amount of actual damages plus the maximum penalty of $10,000 for each and every

false or fraudulent claim, record or statement made, used, presented or cause to be made, used or

presented by the Defendants.




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                                              COUNT XXII

                            Violation of the New Hampshire False Claims Act
                                 (N.H. Rev. Stat. Ann. § 167:61-b et seq.)

        337.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        338.    Defendants knowingly, or acting with deliberate ignorance and/or reckless

disregard of the truth, presented and/or caused to be presented, to the State of New Hampshire

and/or to contractors, grantees, or other recipients of the State of New Hampshire funds used to

advance the interests of the State of New Hampshire, false and fraudulent claims for payment in

connection with introducing non-cleared and otherwise adulterated and/or misbranded devices

for sale in the State of New Hampshire.

        339.    The State of New Hampshire paid claims and incurred losses, and/or contractors,

grantees, or other recipients of the State of New Hampshire funds used to advance the interests

of the State of New Hampshire paid claims and incurred losses, as a result of Defendants’

wrongful conduct.

        340.   By reason of such false and/or fraudulent claims, the State of New Hampshire has

been damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

       341.    Pursuant to N.H. Rev. Stat. Ann.   § 167:61-b, the State of New Hampshire is
entitled to three times the amount of actual damages plus the maximum penalty of $10,000 for

each and every false or fraudulent claim, record or statement made, used, presented or cause to

be made, used or presented by the Defendants.




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                                                COUNT XXIII

                              Violation of the New Jersey False Claims Act
                                   (N.J. Stat. Ann. § 2A:32C-1 et seq.)

        342.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        343.    Defendants knowingly, or acting with deliberate ignorance and/or reckless

disregard of the truth, presented and/or caused to be presented, to the State of New Jersey and/or

to contractors. grantees, or other recipients of the State of New Jersey funds used to advance the

interests of the State of New Jersey, false and fraudulent claims for payment in connection with

introducing non-cleared and otherwise adulterated and/or misbranded devices for sale in the

State of New Jersey.

        344.    The State of New Jersey paid claims and incurred losses, and/or contractors,

grantees. or other recipients of the State of New Jersey funds used to advance the interests of the

State of New Jersey paid claims and incurred losses, as a result of Defendants’ wrongful

conduct.

        345.    By reason of such false and/or fraudulent claims, the State of New Jersey has

been damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

        346.    Pursuant to N.J. Stat. Ann.   § 2A:32C-3, the State of New Jersey is entitled to
three times the amount of actual damages plus the maximum penalty of allowed under the

federal False Claims Act. 31 U.S.C.   § 3729, for each and every false or fraudulent claim, record
or statement made, used, presented or cause to be made, used or presented by the Defendants.




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                                              COUNT XXIV

                        Violation of the New Mexico Medicaid False Claims Act
                                   and Fraud Against Tax Payers Act
                         (N.M. Stat. Ann. § 27-14-1 et seq. and § 44-9-1 et seq.)

        347.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        348.    Defendants knowingly, or acting with deliberate ignorance and/or reckless

disregard of the truth, presented andlor caused to be presented, to the State of New Mexico

and/or to contractors, grantees, or other recipients of the State of New Mexico funds used to

advance the interests of the State of New Mexico, false and fraudulent claims for payment in

connection with introducing non-cleared and otherwise adulterated and/or misbranded devices

for sale in the State of New Mexico.

        349.    The State of New Mexico paid claims and incurred losses, and/or contractors,

grantees. or other recipients of the State of New Mexico funds used to advance the interests of

the State of New Mexico paid claims and incurred losses, as a result of Defendants’ wrongful

conduct.

        350.    By reason of such false and/or fraudulent claims, the State of New Mexico has

been damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

        351.    Pursuant to N.M. Stat. Ann.   § 27-14-4 and § 44-9-3, the State of New Mexico is
entitled to three times the amount of actual damages plus the maximum penalty of$l0,000 for

each and every false or fraudulent claim, record or statement made, used, presented or cause to

be made, used or presented by the Defendants.




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                                              COUNT XXV

                               Violation of the New York False Claims Act
                                    (N.Y. State Fin. Law § 187 et seq.)

        352.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        353.    Defendants knowingly, or acting with deliberate ignorance and/or reckless

disregard of the truth. presented and/or caused to be presented, to the State of New York and/or

to contractors, grantees, or other recipients of the State of New York funds used to advance the

interests of the State of New York, false and fraudulent claims for payment in connection with

introducing non-cleared and otherwise adulterated and/or misbranded devices for sale in the

State of New York.

        354.    The State of New York paid claims and incurred losses, and/or contractors,

grantees, or other recipients of the State of New York funds used to advance the interests of the

State of New York paid claims and incurred losses, as a result of Defendants’ wrongful conduct.

        355.    By reason of such false and/or fraudulent claims, the State of New York has been

damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

       356.     Pursuant to N.Y. State Fin. Law   §    189.1(g), the State of New York is entitled to

three times the amount of actual damages plus the maximum penalty of S 12,000 for each and

every false or fraudulent claim, record or statement made, used, presented or cause to be made,

used or presented by the Defendants.




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                                                  COUNT XXVI

                            Violations of the North Carolina False Claims Act
                                     (N.C. Gen. Stat. § 1-605 etseq.)

        357.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        358.    Defendants knowingly, or acting with deliberate ignorance and/or reckless

disregard of the truth, presented and/or caused to be presented, to the State of North Carolina

and/or to contractors, grantees, or other recipients of the State of North Carolina funds used to

advance the interests of the State of North Carolina, false and fraudulent claims for payment in

connection with introducing non-cleared and otherwise adulterated and/or misbranded devices

for sale in the State of North Carolina.

        359.    The State of North Carolina paid claims and incurred losses, and/or contractors,

grantees, or other recipients of the State of North Carolina funds used to advance the interests of

the State of North Carolina paid claims and incurred losses, as a result of Defendants’ wrongful

conduct.

        360.    By reason of such false and/or fraudulent claims, the State of North Carolina has

been damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

        361.    Pursuant to N.C. Gen. Stat.   §   1-607(a), the State of North Carolina is entitled to

three times the amount of actual damages plus the maximum penalty of $11,000 for each and

every false or fraudulent claim, record or statement made, used, presented or cause to be made,

used or presented by the Defendants.




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                                             COUNT XXVII

                         Violation of the Oklahoma Medicaid False Claims Act
                                    (63 OkIa. St. Ann. § 5053 et seq.)

        362.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        363.    Defendants knowingly, or acting with deliberate ignorance and/or reckless

disregard of the truth, presented and/or caused to be presented, to the State of Oklahoma and/or

to contractors. grantees. or other recipients of the State of Oklahoma funds used to advance the

interests of the State of Oklahoma. false and fraudulent claims for payment in connection with

introducing non-cleared and otherwise adulterated and/or misbranded devices for sale in the

State of Oklahoma.

        364.    The State of Oklahoma paid claims and incurred losses, and/or contractors,

grantees. or other recipients of the State of Oklahoma funds used to advance the interests of the

State of Oklahoma paid claims and incurred losses, as a result of Defendants’ wrongful conduct.

        365.    By reason of such false and/or fraudulent claims, the State of Oklahoma has been

damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

       366.     Pursuant to 63 Okla. St. Ann.   §   5053.1(B), the State of Oklahoma is entitled to

three times the amount of actual damages plus the maximum penalty of $10,000 for each and

every false or fraudulent claim, record or statement made, used, presented or cause to be made,

used or presented by the Defendants.




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                                                 COUNT XXIII

                         Violation of the State False Claims Act (Rhode Island)
                                    (R.I. Gen. Laws § 9-1.1-1 etseq.)

        367.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        368.    Defendants knowingly, or acting with deliberate ignorance and/or reckless

disregard of the truth, presented and/or caused to be presented, to the State of Rhode Island

and/or to contractors, grantees, or other recipients of the State of Rhode Island funds used to

advance the interests of the State of Rhode Island, false and fraudulent claims for payment in

connection with introducing non-cleared and otherwise adulterated and/or misbranded devices

for sale in the State of Rhode Island.

        369.    The State of Rhode Island paid claims and incurred losses, and/or contractors,

grantees, or other recipients of the State of Rhode Island funds used to advance the interests of

the State of Rhode Island paid claims and incurred losses, as a result of Defendants’ wrongful

conduct.

        370.    By reason of such false and/or fraudulent claims, the State of Rhode Island has

been damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

        371.    Pursuant to R.I. Gen. Laws   §   9-1.1-3, the State of Rhode Island is entitled to three

times the amount of actual damages plus the maximum penalty of $10,000 for each and every

false or fraudulent claim, record or statement made, used, presented or cause to be made, used or

presented by the Defendants.




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                                                COUNT XXIX

                         Violation of the Tennessee Medicaid False Claims Act
                                  (Tenn. Code Ann. § 71-5-181 etseq.)

        372.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        373.    Defendants knowingly, or acting with deliberate ignorance and/or reckless

disregard of the truth, presented and/or caused to be presented, to the State of Tennessee and/or

to contractors, grantees. or other recipients of the State of Tennessee funds used to advance the

interests of the State of Tennessee, false and fraudulent claims for payment in connection with

introducing non-cleared and otherwise adulterated and/or misbranded devices for sale in the

State of Tennessee.

        374.    The State of Tennessee paid claims and incurred losses, and/or contractors,

grantees. or other recipients of the State of Tennessee funds used to advance the interests of the

State of Tennessee paid claims and incurred losses, as a result of Defendants’ wrongful conduct.

        375.    By reason of such false and/or fraudulent claims, the State of Tennessee has been

damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

        376.    Pursuant to Tenn. Code   §   71-5-182(a)(1), the State of Tennessee is entitled to

three times the amount of actual damages plus the maximum penalty of $25,000 for each and

every false or fraudulent claim, record or statement made, used, presented or cause to be made,

used or presented by the Defendants.




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                                                COUNT XXX

                                            Violation of the Texas
                                        Medicaid Fraud Prevention Law
                                     (Tex. Hum. Res. Code § 36.002 et seq.)

        377.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        378.    Defendants knowingly, or acting with deliberate ignorance andlor reckless

disregard of the truth, presented and/or caused to be presented, to the State of Texas and/or to

contractors. grantees, or other recipients of the State of Texas funds used to advance the interests

of the State of Texas, false and fraudulent claims for payment in connection with introducing

non-cleared and otherwise adulterated and/or misbranded devices for sale in the State of Texas.

        379.    The State of Texas paid claims and incurred losses, and/or contractors, grantees,

or other recipients of the State of Texas funds used to advance the interests of the State of Texas

paid claims and incurred losses, as a result of Defendants’ wrongful conduct.

        380.    By reason of such false and/or fraudulent claims, the State of Texas has been

damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

        381.    Pursuant to Tex. Hum. Res. Code Ann.      § 36.052, the State of Texas is entitled to
two times the amount of actual damages plus the maximum penalty of$15,000 for each and

every false or fraudulent claim, record or statement made, used, presented or cause to be made,

used or presented by the Defendants.




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                                             COUNT XXXI

                                 Violations of the Utah False Claims Act
                                   (Utah Code Ann. § 26-20-1 etseq.)

        382.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        383.    Defendants knowingly, or acting with deliberate ignorance and/or reckless

disregard of the truth, presented and/or caused to be presented, to the State of Utah and/or to

contractors, grantees, or other recipients of the State of Utah funds used to advance the interests

of the State of Utah, false and fraudulent claims for payment in connection with introducing non-

cleared and otherwise adulterated and/or misbranded devices for sale in the State of Utah.

        384.    The State of Utah paid claims and incurred losses, and/or contractors, grantees, or

other recipients of the State of Utah funds used to advance the interests of the State of Utah paid

claims and incurred losses, as a result of Defendants’ wrongful conduct.

        385.    By reason of such false and/or fraudulent claims, the State of Utah has been

damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

        386.    Pursuant to Utah Code Ann.   §   26-20-9.5(2)(c), the State of Utah is entitled to

three times the amount of actual damages plus the maximum penalty of $10,000 for each and

every false or fraudulent claim, record or statement made, used, presented or cause to be made,

used or presented by the Defendants.




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                                                COUNT XXXII

                                          Violation of the Virginia
                                       Fraud Against Taxpayers Act
                                     (Va. Code Ann. § 8.01-216.1 etseq.)

        387.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        388.    Defendants knowingly. or acting with deliberate ignorance and/or reckless

disregard of the truth, presented and/or caused to be presented, to the Commonwealth of Virginia

and/or to contractors. grantees, or other recipients of the Commonwealth of Virginia funds used

to advance the interests of the Commonwealth of Virginia, false and fraudulent claims for

payment in connection with introducing non-cleared and otherwise adulterated and/or

misbranded devices for sale in the Commonwealth of Virginia.

        389.   The Commonwealth of Virginia paid claims and incurred losses, and/or

contractors, grantees, or other recipients of the Commonwealth of Virginia funds used to

advance the interests of the Commonwealth of Virginia paid claims and incurred losses, as a

result of Defendants’ wrongful conduct.

        390.   By reason of such false and/or fraudulent claims, the Commonwealth of Virginia

has been damaged in a substantial amount to be determined at trial and is entitled to a civil

penalty as required by law for each violation.

       391.    Pursuant to Va. Code Ann.    §   8.01-216.3(A), the Commonwealth of Virginia is

entitled to three times the amount of actual damages plus the maximum penalty of $11,000 for

each and every false or fraudulent claim, record or statement made, used, presented or cause to

be made, used or presented by the Defendants.




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                                            COUNT XXXIII

                           Violation of the Washington State Medicaid Fraud
                                            False Claims Act
                                 (Rev. Code Wash. § 74.66.0005 et seq.)

        392.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        393.    Defendants knowingly, or acting with deliberate ignorance and/or reckless

disregard of the truth, presented and/or caused to be presented, to the State of Washington and/or

to contractors. grantees, or other recipients of the State of Washington funds used to advance the

interests of the State of Washington, false and fraudulent claims for payment in connection with

introducing non-cleared and otherwise adulterated and/or misbranded devices for sale in the

State of Washington.

        394,    The State of Washington paid claims and incurred losses, and/or contractors,

grantees, or other recipients of the State of Washington funds used to advance the interests of the

State of Washington paid claims and incurred losses, as a result of Defendants’ wrongful

conduct.

        395.    By reason of such false and/or fraudulent claims, the State of Washington has

been damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

        396.    Pursuant to Rev. Code Wash.   §   74.66.020(1), the State of Washington is entitled

to three times the amount of actual damages plus the maximum penalty of $11,000 for each and

every false or fraudulent claim, record or statement made, used, presented or cause to be made,

used or presented by the Defendants.




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                                              COUNT XXXIV

                                         Violation of the Wisconsin
                                 False Claims for Medical Assistance Law
                                        (Wisc. Stat. § 20.931 et seq.)

        397.    This Complaint incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        398.    Defendants knowingly, or acting with deliberate ignorance and/or reckless

disregard of the truth, presented and/or caused to be presented, to the State of Wisconsin and/or

to contractors, grantees, or other recipients of the State of Wisconsin funds used to advance the

interests of the State of Wisconsin, false and fraudulent claims for payment in connection with

introducing non-cleared and otherwise adulterated and/or misbranded devices for sale in the

State of Wisconsin.

        399.    The State of Wisconsin paid claims and incurred losses, and/or contractors,

grantees, or other recipients of the State of Wisconsin funds used to advance the interests of the

State of Wisconsin paid claims and incurred losses, as a result of Defendants’ wrongful conduct.

        400.    By reason of such false and/or fraudulent claims, the State of Wisconsin has been

damaged in a substantial amount to be determined at trial and is entitled to a civil penalty as

required by law for each violation.

        401.    Pursuant to Wisc. Stat.   § 20.931(2), the   State of Wisconsin is entitled to three

times the amount of actual damages plus the maximum penalty of $10,000 for each and every

false or fraudulent claim, record or statement made, used, presented or cause to be made, used or

presented by the Defendants.




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       WHEREFORE. Relator, on behalf of herself. and acting on behalf of. and in the name of,

the Government, respectfully demands and prays that the Court enter judgment against

Defendants as follows:

       I. On Count I. Count II, and Count III, under the federal False Claims Act, a judgment

           in the amount of the damage to the Government. trebled as required by law, with civil

          penalties as required by law, together with all such further relief as may be just and

          proper;

       2. On Count I, Count II, and Count III, under the federal False Claims Act, a judgment

          awarding Relator the maximum amount available under 31 U.S.C.         § 3730(d) for
          bringing this action, namely twenty-five percent (25%) of the proceeds of the action

          by judgment or settlement if the Govermuent intervenes in the matter (or pursues its

          claim through any alternative remedy available to the Government), or, alternatively,

          thirty-five percent (3 5%) of the proceeds of the action by judgment or settlement of

          the causes of action, if the Government declines to intervene;

       3. On Count I, Count II, and Count III, under the federal False Claims Act, a judgment

          awarding Relator all reasonable expenses that were necessarily incurred in

          prosecution of this action, plus all reasonable attorneys’ fees and costs, as provided

          by 31 U.S.C.   § 3730(d);
       4. On Counts IV through XXXIV, under the individual state false claims acts, a

          judgment in the amount of the damage to the individual state, doubled or trebled as

          permitted by each individual state statute, with civil penalties as required by each

          individual state statute, together with all such further relief as may be just and proper;




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         5. On Counts IV through XXXIV, a judgment awarding Relator the maximum amount

            available under under the individual state false claims acts for bringing this action.

            plus all reasonable expenses that were necessarily incurred in prosecution of this

            action, all reasonable attorneys’ fees and costs, and all other remedies as provided

            under individual state false claims acts; and

         6. Awarding such other relief for the Government and Relator as this Court deems just

            and proper.

Dated:    July2,2014                                        Respectfully submitted,

                                                            HARTER SEcREsT   & EMERY LLP


                                                      B-’
                                                       Carol E. Heckman
                                                       Kenneth W. Africano
                                                       Twelve Fountain Plaza, Suite 400
                                                       Buffalo, New York 14202
                                                       Telephone No. (716) 844-3720
                                                       Facsimile No. (716) 853-1617
                                                       CHeckman@hselaw.com
                                                       KAfricano@hselaw. corn

                                                            Brian M. Feldman
                                                            1600 Bausch & Lomb Place
                                                            Rochester, New York 14604
                                                            Telephone No. (585) 231-1201
                                                            Facsimile No. (585) 232-2152
                                                            BFeldman@hselaw.com

                                                            Attorneys for Plaint UTRelator Mary
                                                            Bixier Wood




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